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                100 Pine Street                                                     Erik Roberts Anderson
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                                           December 24, 2024


Via ECF

The Honorable Joseph F. Leeson, Jr.
United States District Court
Eastern District of Pennsylvania
504 W. Hamilton Street
Suite 3401
Allentown, PA 18101

Re:       Smith v. The Fintex Group, LLC et al.
          5:24-cv-02134-JFL

Dear Judge Leeson:

I write on behalf of Defendants in compliance with Your Honor’s Dec. 17 Order.1 Enclosed with
this letter is a proposed Order that would compel Plaintiff to produce two classes of documents:

          (1) Plaintiff’s non-privileged communications with individuals, including Defendants, that
              Plaintiff has identified2 as having (or potentially having) knowledge or information
              relative to the allegations in this case;3 and

          (2) Plaintiff’s consulting business’s client contracts.4

The proposed Order would also deny Plaintiff’s requested relief.

Thank you, Judge Leeson, for considering Defendants’ proposed Order.


1
    Doc. 42.
2
 See Defs.’ First Set of Interrogs. at No. 1 (“Identify every person whom you know or believe to have
personal knowledge of any of the facts alleged in the Complaint[.]”);
3
 See Defs.’ First Doc. Req. at No. 22 (“[C]ommunications between and or among you and each person you
believe has knowledge or information relating to the facts of your case or the allegations in your
complaint[.]”); Id. at No. 26 (“Communications which refer or relate to and/or otherwise mention: (a)
Defendants; (b) Your alleged employment with Defendants; or (c) this . . . lawsuit.”).
4
 See Defs.’ Second Doc. Req. at No. 1 (“Please produce all contracts between The Linchpin Company,
LLC and its client(s) from 2015 through the present.”).
The Honorable Joseph F. Leeson, Jr.
Dec. 24, 2024
Page 2


Season’s greetings,

/s/ Erik R. Anderson

Erik Roberts Anderson
MCNEES WALLACE & NURICK LLC


cc:     All Counsel of Record (via ECF)

Encl.
                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CHRISTOPHER SMITH,                           :
                                             :
          Plaintiff/Counterclaim Defendant :
                                             :
          v.                                 :               No. 5:24-cv-02134-JFL
                                             :
THE FINTEX GROUP LLC and                     :               JURY TRIAL DEMANDED
ANDREW WEINSTEIN,                            :
                                             :
          Defendants/Counterclaim Plaintiffs :

                                             ORDER


       AND NOW this ____ day of __________________, 202__, upon consideration of

Defendants’ Dec. 24, 2024 letter (Doc. 48), it is ORDERED and DECREED that within 14

days of this Order:

       (1)     Plaintiff shall make a rule-compliant and complete document production—

               excluding documents Plaintiff has already produced—to Defendants as follows:

               (a)      Plaintiff’s non-privileged communications with each individual identified

                        in Plaintiff’s Dec. 10, 2024 Amended Response to Defendants’ First Set of

                        Interrogatories in response to Defendants’ Interrogatory Request No. 1;

               (b)      All contracts between The Linchpin Company, LLC and its client(s) from

                        2015 through the present.

       It is further ORDERED and DECREED that the relief sought by Plaintiff in Doc. 44 is

DENIED.

                                                             BY THE COURT:

                                                             __________________________
                                                             JOSEPH F. LEESON, JR.
                                                             United States District Judge
